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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
ESLIMERARI RAMOS, on behalf of herself and :
all others similarly situated,                                         :
                                                                       : Case No.: 1:24-cv-2844
                               Plaintiffs,                             :
                                                                       : CLASS ACTION COMPLAINT
                               v.                                      : AND DEMAND FOR JURY TRIAL
                                                                       :
FRANCESCA’S HOLDINGS CORPORATION, :
                                                                       :
                              Defendant.                               :
                                                                       :
                                                                       :
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x

                                      INTRODUCTION
1.       Plaintiff ESLIMERARI RAMOS, on behalf of herself and others similarly situated,

         asserts the following claims against Defendant FRANCESCA’S HOLDINGS

         CORPORATION as follows.

2.       Plaintiff is a visually-impaired and legally blind person who requires screen-

         reading software to read website content using her computer. Plaintiff uses the

         terms “blind” or “visually-impaired” to refer to all people with visual impairments

         who meet the legal definition of blindness in that they have a visual acuity with

         correction of less than or equal to 20 x 200. Some blind people who meet this

         definition have limited vision. Others have no vision.

3.       Based on a 2010 U.S. Census Bureau report, approximately 8.1 million people in

         the United States are visually impaired, including 2.0 million who are blind.

4.       Plaintiff brings this civil rights action against Defendant for its failure to design,

         construct, maintain, and operate its website to be fully accessible to and

         independently usable by Plaintiff and other blind or visually-impaired people.



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         Defendant’s denial of full and equal access to its website, and therefore denial of

         its goods and services offered thereby, is a violation of Plaintiff’s rights under the

         Americans with Disabilities Act (“ADA”).

5.       Congress provided a clear and national mandate for the elimination of

         discrimination against individuals with disabilities when it enacted the ADA. Such

         discrimination includes barriers to full integration, independent living and equal

         opportunity for persons with disabilities, including those barriers created by

         websites and other public accommodations that are inaccessible to blind and

         visually impaired persons.

6.       Because Defendant’s website, www.francescas.com (the “Website”), is not equally

         accessible to blind and visually impaired consumers, it violates the ADA. Plaintiff

         seeks a permanent injunction to cause a change in Defendant’s corporate policies,

         practices, and procedures so that Defendant’s website will become and remain

         accessible to blind and visually-impaired consumers.

                               JURISDICTION AND VENUE
7.       This Court has subject-matter jurisdiction over this action under 28 U.S.C. § 1331

         and 42 U.S.C. § 12182, as Plaintiff’s claims arise under Title III of the ADA, 42

         U.S.C. § 12182, et seq.

8.       Venue is proper in this district under 28 U.S.C. §1391(b)(1) and (2) because

         Defendant conducts and continues to conduct a substantial and significant amount

         of business in this District, and a substantial portion of the conduct complained of

         herein occurred in this District because Plaintiff attempted to utilize, on a number

         of occasions, the subject Website within this Judicial District.




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9.       Defendant is subject to personal jurisdiction in this District. Defendant has been

         and is committing the acts or omissions alleged herein in the Northern District of

         Illinois that caused injury and violated rights the ADA prescribes to Plaintiff and to

         other blind and other visually impaired-consumers. A substantial part of the acts

         and omissions giving rise to Plaintiff’s claims occurred in this District: on several

         separate occasions, Plaintiff has been denied the full use and enjoyment of the

         facilities, goods and services offered to the general public, on Defendant’s Website

         in Will County. These access barriers that Plaintiff encountered have caused a

         denial of Plaintiff’s full and equal access multiple times in the past, and now deter

         Plaintiff on a regular basis from accessing the Defendant’s Website in the future.

10.      The United States Department of Justice Civil Rights Division has recently

         provided “Guidance on Web Accessibility and the ADA.” It states in part, “the

         Department has consistently taken the position that the ADA’s requirements apply

         to all the goods, services, privileges, or activities offered by public

         accommodations, including those offered on the web.”

11.      This Court is empowered to issue a declaratory judgment under 28 U.S.C. §§ 2201

         and 2202.

12.      This lawsuit is aimed at providing legally blind users like the Plaintiff a full and

         equal experience.

                                       THE PARTIES
13.      Plaintiff ESLIMERARI RAMOS, at all relevant times, is and was a resident of Will

         County, Illinois.




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14.   Plaintiff is a blind, visually-impaired handicapped person and a member of a

      protected class of individuals under the ADA, under 42 U.S.C. § 12102(1)-(2), and

      the regulations implementing the ADA set forth at 28 CFR §§ 36.101 et seq.

15.   Defendant is, and at all relevant times was, doing business in this jurisdiction.

16.   Defendant’s Website, and its goods and services offered thereupon, is a public

      accommodation within the definition of Title III of the ADA, 42 U.S.C. § 12181(7).

                                          STANDING
17.   Plaintiff ESLIMERARI RAMOS is a blind, visually-impaired handicapped person

      and a member of a protected class of individuals under the ADA, under 42 U.S.C.

      § 12102(1)-(2), and the regulations implementing the ADA set forth at 28 CFR §§

      36.101 et seq.

18.   Consumers such as the Plaintiff may purchase Defendant’s products and access

      other brand related content and services at www.francescas.com (“Website”), the

      Website Defendant owns, operates, and controls.

19.   In addition to researching and purchasing Defendant’s products and services from

      the comfort and convenience of their homes, consumers may also use Defendant’s

      Website to sign up to receive product updates, product news, and receive special

      promotions not available elsewhere.

20.   Plaintiff was injured when she attempted multiple times, most recently on January

      26, 2024 to access Defendant’s Website from her home in an effort to shop for

      Defendant’s products, but encountered barriers that denied her full and equal access

      to Defendant’s online goods, content and services.

21.   Specifically, the Plaintiff wanted to purchase a shacket.




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22.   Plaintiff’s interest in this product category was due to the fact that she was looking

      for a longline shirt jacket that is trendy now and can be easily layered during

      transitional weather due to its relaxed fit.

23.   This Website holds themselves out as an online retailer renowned for its boutique-

      style selection of women's clothing, jewelry, accessories, and gifts. They offer a

      curated collection that includes fashionable dresses, sweaters, blouses, jeans, and

      more. The Website also offers exclusive sales and membership rewards. Therefore,

      Plaintiff desired to buy products from the Website.

24.   Unfortunately, she was unable to complete this purchase due the inaccessibility of

      Defendant’s Website.

25.   Due to Defendant’s failure to build the Website in a manner that is compatible with

      screen access programs, Plaintiff was unable to understand and properly interact

      with the Website, and was thus denied the benefit of purchasing the shirt jacket

      product she wished to acquire from the Website.

26.   The law requires that the Defendant reasonably accommodate Plaintiff’s

      disabilities by removing these existing access barriers.

27.   Plaintiff has been, and in absence of an injunction will continue to be injured by

      Defendant’s failure to provide its online content and services in a manner that is

      compatible with screen reader technology.

28.   Because of Defendant’s denial of full and equal access to and enjoyment of the

      good, benefits and services of the Website, Plaintiff has suffered an injury in fact

      due to her inability to purchase her desired shirt jacket product, which is a concrete

      and particularized injury, and is a direct result of Defendant’s conduct.




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29.   Despite this direct harm and frustration, Plaintiff intends to attempt to access the

      Website in the future to purchase products and services the Website offers, and

      more specifically a shacket, if remedied.

                                NATURE OF ACTION
30.   The Internet has become a significant source of information, a portal, and a tool for

      conducting business, doing everyday activities such as shopping, learning, banking,

      researching, as well as many other activities for sighted, blind and visually-

      impaired persons alike.

31.   In today’s tech-savvy world, blind and visually impaired people have the ability to

      access websites using keyboards in conjunction with screen access software that

      vocalizes the visual information found on a computer screen or displays the content

      on a refreshable Braille display. This technology is known as screen-reading

      software. Screen-reading software is currently the only method a blind or visually-

      impaired person may use to independently access the internet. Unless websites are

      designed to be read by screen-reading software, blind and visually-impaired

      persons are unable to fully access websites, and the information, products, goods

      and contained thereon.

32.   Blind and visually-impaired users of Windows operating system-enabled

      computers and devices have several screens reading software programs available

      to them. Some of these programs are available for purchase and other programs are

      available without the user having to purchase the program separately. Job Access

      With Speech, otherwise known as “JAWS” is currently the most popular, separately

      purchased and downloaded screen-reading software program available for a




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      Windows computer. Another popular screen-reading software program available

      for a Windows computer is NonVisual Desktop Access “NVDA”.

33.   For screen-reading software to function, the information on a website must be

      capable of being rendered into text. If the website content is not capable of being

      rendered into text, the blind or visually-impaired user is unable to access the same

      content available to sighted users.

34.   The international website standards organization, the World Wide Web

      Consortium, known throughout the world as W3C, has published version 2.1 of the

      Web Content Accessibility Guidelines (“WCAG 2.1”). WCAG 2.1 are well-

      established guidelines for making websites accessible to blind and visually-

      impaired people. These guidelines are universally followed by most large business

      entities and government agencies to ensure their websites are accessible.

35.   Non-compliant websites pose common access barriers to blind and visually-

      impaired persons. Common barriers encountered by blind and visually impaired

      persons include, but are not limited to, the following:

             a.      A text equivalent for every non-text element is not provided;

             b.      Title frames with text are not provided for identification and

             navigation;

             c.      Equivalent text is not provided when using scripts;

             d.      Forms with the same information and functionality as for sighted

             persons are not provided;

             e.      Information about the meaning and structure of content is not

             conveyed by more than the visual presentation of content;




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          f.      Text cannot be resized without assistive technology up to 200%

          without losing content or functionality;

          g.      If the content enforces a time limit, the user is not able to extend,

          adjust or disable it;

          h.      Web pages do not have titles that describe the topic or purpose;

          i.      The purpose of each link cannot be determined from the link text

          alone or from the link text and its programmatically determined link

          context;

          j.      One or more keyboard operable user interface lacks a mode of

          operation where the keyboard focus indicator is discernible;

          k.      The default human language of each web page cannot be

          programmatically determined;

          l.      When a component receives focus, it may initiate a change in

          context;

          m.      Changing the setting of a user interface component may

          automatically cause a change of context where the user has not been advised

          before using the component;

          n.      Labels or instructions are not provided when content requires user

          input, which include captcha prompts that require the user to verify that he

          or she is not a robot;

          o.      In content which is implemented by using markup languages,




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             elements do not have complete start and end tags, elements are not nested

             according to their specifications, elements may contain duplicate attributes,

             and/or any IDs are not unique;

             p.      Inaccessible Portable Document Format (PDFs); and,

             q.      The name and role of all User Interface elements cannot be

             programmatically determined; items that can be set by the user cannot be

             programmatically set; and/or notification of changes to these items is not

             available to user agents, including assistive technology.

36.   Websites have features and content that are modified on a daily, and in some

      instances hourly basis and a one time “fix” to an inaccessible digital platform will

      not cause the digital platform to remain accessible without a corresponding in

      change in corporate policies related to those web-based technologies. To evaluate

      whether an inaccessible website has been rendered accessible, and whether

      corporate policies related to website technologies have been changes in a

      meaningful manner that will cause the Website to remain accessible, the Website

      must be reviewed on a periodic basis using both automated accessibility screening

      tools and end user testing by disabled individuals.

                              STATEMENT OF FACTS
37.   Defendant is a company that owns and operates www.francescas.com (its

      “Website”), offering features which should allow all consumers to access the goods

      and services and by which Defendant ensures the delivery of such goods and

      services throughout the United States, including the State of Illinois.

38.   Defendant’s Website offers products and services for online sale and general

      delivery to the public. The Website offers features which ought to allow users to


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      browse for items, access navigation bar descriptions, inquire about pricing, and

      avail consumers of the ability to peruse the numerous items offered for sale.

39.   Plaintiff is a visually-impaired and legally blind person, who cannot use a computer

      without the assistance of screen-reading software. Plaintiff is, however, a proficient

      NVDA screen-reader user and uses it to access the Internet. Plaintiff has visited the

      Website multiple times, most recently on January 26, 2024 using a screen-reader.

40.   Plaintiff intended to purchase a shacket.

41.   Plaintiff’s interest in this product category was due to the fact that she was looking

      for a longline shirt jacket that is trendy now and can be easily layered during

      transitional weather due to its relaxed fit.

42.   On January 26, 2024 Plaintiff visited Defendant’s website, www.francescas.com,

      to purchase a shacket. Despite her efforts, however, Plaintiff was denied a shopping

      experience similar to that of a sighted individual due to the website’s lack of a

      variety of features and accommodations, which effectively barred Plaintiff from

      having an unimpeded shopping experience.

43.   The Website contains access barriers that prevent free and full use by the Plaintiff

      using keyboards and screen reading software. These barriers include but are not

      limited to: missing alt-text, hidden elements on web pages, incorrectly formatted

      lists, unannounced pop ups, unclear labels for interactive elements, and the

      requirement that some events be performed solely with a mouse.

44.   The Website also contained a host of broken links, which is a hyperlink to a non-

      existent or empty webpage. For the visually impaired this is especially paralyzing




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      due to the inability to navigate or otherwise determine where one is on the website

      once a broken link is encountered.

45.   These access barriers effectively denied Plaintiff the ability to use and enjoy

      Defendant’s website the same way sighted individuals do.

46.   Plaintiff intends to visit the Website in the near future if it is made accessible.

47.   It is, upon information and belief, Defendant’s policy and practice to deny Plaintiff,

      along with other blind or visually-impaired users, access to Defendant’s website,

      and to therefore specifically deny the goods and services that are offered to the

      general public. Due to Defendant’s failure and refusal to remove access barriers to

      its website, Plaintiff and visually-impaired persons have been and are still being

      denied equal access to Defendant’s Website, and the numerous goods and services

      and benefits offered to the public through the Website.

48.   Due to the inaccessibility of Defendant’s Website, blind and visually-impaired

      customers such as Plaintiff, who need screen-readers, cannot fully and equally use

      or enjoy the facilities, products, and services Defendant offers to the public on its

      website. The access barriers Plaintiff encountered have caused a denial of

      Plaintiff’s full and equal access in the past, and now deter Plaintiff on a regular

      basis from equal access to the Website.

49.   If the Website were equally accessible to all, Plaintiff could independently navigate

      the Website and complete a desired transaction as sighted individuals do.

50.   Through her attempts to use the Website, Plaintiff has actual knowledge of the

      access barriers that make these services inaccessible and independently unusable

      by blind and visually-impaired people.




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51.    Because simple compliance with the WCAG 2.1 Guidelines would provide Plaintiff

       and other visually-impaired consumers with equal access to the Website, Plaintiff

       alleges that Defendant has engaged in acts of intentional discrimination, including

       but not limited to the following policies or practices:

               a.      Constructing and maintaining a website that is inaccessible to

               visually-impaired individuals, including Plaintiff;

               b.      Failure to construct and maintain a website that is sufficiently intuitive

               so as to be equally accessible to visually impaired individuals, including

               Plaintiff; and,

               c.      Failing to take actions to correct these access barriers in the face of

               substantial harm and discrimination to blind and visually-impaired

               consumers, such as Plaintiff, as a member of a protected class.

52.    Defendant therefore uses standards, criteria or methods of administration that have the

       effect of discriminating or perpetuating the discrimination of others, as alleged herein.

53.    The ADA expressly contemplates the injunctive relief that Plaintiff seeks in this

       action. In relevant part, the ADA requires:

       In the case of violations of . . . this title, injunctive relief shall include an order to
       alter facilities to make such facilities readily accessible to and usable by individuals
       with disabilities . . . Where appropriate, injunctive relief shall also include requiring
       the . . . modification of a policy . . .

42 U.S.C. § 12188(a)(2).

54.    Because Defendant’s Website has never been equally accessible, and because

       Defendant lacks a corporate policy that is reasonably calculated to cause its Website

       to become and remain accessible, Plaintiff invokes 42 U.S.C. § 12188(a)(2) and

       seeks a permanent injunction requiring Defendant to retain a qualified consultant



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      acceptable to Plaintiff (“Agreed Upon Consultant”) to assist Defendant to comply

      with WCAG 2.1 guidelines for Defendant’s Website. Plaintiff seeks that this

      permanent injunction requires Defendant to cooperate with the Agreed Upon

      Consultant to:

             a.        Train Defendant’s employees and agents who develop the Website

             on accessibility compliance under the WCAG 2.1 guidelines;

             b.        Regularly check the accessibility of the Website under the WCAG

             2.1 guidelines;

             c.        Regularly test user accessibility by blind or vision-impaired persons

             to ensure that Defendant’s Website complies under the WCAG 2.1

             guidelines; and,

             d.        Develop an accessibility policy that is clearly disclosed on Defendant’s

             Websites, with contact information for users to report accessibility-related

             problems.

55.   Although Defendant may currently have centralized policies regarding maintaining

      and operating its Website, Defendant lacks a plan and policy reasonably calculated

      to make them fully and equally accessible to, and independently usable by, blind

      and other visually-impaired consumers.

56.   Defendant has, upon information and belief, invested substantial sums in

      developing and maintaining their Website and has generated significant revenue

      from the Website. These amounts are far greater than the associated cost of making

      their website equally accessible to visually impaired customers.




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57.   Without injunctive relief, Plaintiff and other visually-impaired consumers will

      continue to be unable to independently use the Website, violating their rights.

                            CLASS ACTION ALLEGATIONS
58.   Plaintiff, on behalf of herself and all others similarly situated, seeks to certify a

      nationwide class under Fed. R. Civ. P. 23(a) and 23(b)(2): all legally blind

      individuals in the United States who have attempted to access Defendant’s Website

      and as a result have been denied access to the equal enjoyment of goods and services,

      during the relevant statutory period.

59.   Common questions of law and fact exist amongst the Class, including:

             a.         Whether Defendant’s Website is a “public accommodation” under

             the ADA;

             b.         Whether Defendant’s Website denies the full and equal enjoyment

             of   its     products,   services,    facilities,   privileges,   advantages,   or

             accommodations to people with visual disabilities, violating the ADA;

60.   Plaintiff’s claims are typical of the Class. The Class, similarly to the Plaintiff, are

      severely visually impaired or otherwise blind, and claim that Defendant has

      violated the ADA by failing to update or remove access barriers on its Website so

      either can be independently accessible to the Class.

61.   Plaintiff will fairly and adequately represent and protect the interests of the Class

      Members because Plaintiff has retained and is represented by counsel competent

      and experienced in complex class action litigation, and because Plaintiff has no

      interests antagonistic to the Class Members. Class certification of the claims is

      appropriate under Fed. R. Civ. P. 23(b)(2) because Defendant has acted or refused




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       to act on grounds generally applicable to the Class, making appropriate both

       declaratory and injunctive relief with respect to Plaintiff and the Class as a whole.

62.    Alternatively, class certification is appropriate under Fed. R. Civ. P. 23(b)(3) because

       fact and legal questions common to Class Members predominate over questions

       affecting only individual Class Members, and because a class action is superior to

       other available methods for the fair and efficient adjudication of this litigation.

63.    Judicial economy will be served by maintaining this lawsuit as a class action in that

       it is likely to avoid the burden that would be otherwise placed upon the judicial

       system by the filing of numerous similar suits by people with visual disabilities

       throughout the United States.

                         FIRST CAUSE OF ACTION
                VIOLATIONS OF THE ADA, 42 U.S.C. § 12182 et seq.
64.    Plaintiff, on behalf of herself and the Class Members, repeats and realleges every

       allegation of the preceding paragraphs as if fully set forth herein.

65.    Section 302(a) of Title III of the ADA, 42 U.S.C. § 12101 et seq., provides:

       No individual shall be discriminated against on the basis of disability in the full and
       equal enjoyment of the goods, services, facilities, privileges, advantages, or
       accommodations of any place of public accommodation by any person who owns,
       leases (or leases to), or operates a place of public accommodation.

42 U.S.C. § 12182(a).

66.    Defendant’s Website is a public accommodation within the definition of Title III of

       the ADA, 42 U.S.C. § 12181(7). The Website is a service that is offered to the

       general public, and as such, must be equally accessible to all potential consumers.

67.    Under Section 302(b)(1) of Title III of the ADA, it is unlawful discrimination to

       deny individuals with disabilities the opportunity to participate in or benefit from




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       the products, services, facilities, privileges, advantages, or accommodations of an

       entity. 42 U.S.C. § 12182(b)(1)(A)(i).

68.    Under Section 302(b)(1) of Title III of the ADA, it is unlawful discrimination to

       deny individuals with disabilities an opportunity to participate in or benefit from

       the products, services, facilities, privileges, advantages, or accommodation, which

       is equal to the opportunities afforded to other individuals. 42 U.S.C. §

       12182(b)(1)(A)(ii).

69.    Under Section 302(b)(2) of Title III of the ADA, unlawful discrimination also

       includes, among other things:

       [A] failure to make reasonable modifications in policies, practices, or procedures,
       when such modifications are necessary to afford such goods, services, facilities,
       privileges, advantages, or accommodations to individuals with disabilities, unless
       the entity can demonstrate that making such modifications would fundamentally
       alter the nature of such goods, services, facilities, privileges, advantages or
       accommodations; and a failure to take such steps as may be necessary to ensure that
       no individual with a disability is excluded, denied services, segregated or otherwise
       treated differently than other individuals because of the absence of auxiliary aids
       and services, unless the entity can demonstrate that taking such steps would
       fundamentally alter the nature of the good, service, facility, privilege, advantage,
       or accommodation being offered or would result in an undue burden.

42 U.S.C. § 12182(b)(2)(A)(ii)-(iii).

70.    The acts alleged herein constitute violations of Title III of the ADA, and the

       regulations promulgated thereunder. Plaintiff, who is a member of a protected class

       of persons under the ADA, has a physical disability that substantially limits the

       major life activity of sight within the meaning of 42 U.S.C. §§ 12102(1)(A)-(2)(A).

       Furthermore, Plaintiff has been denied full and equal access to the Website, has not

       been provided services that are provided to other patrons who are not disabled, and

       has been provided services that are inferior to the services provided to non-disabled




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      persons. Defendant has failed to take any prompt and equitable steps to remedy its

      discriminatory conduct. These violations are ongoing.

71.   Under 42 U.S.C. § 12188 and the remedies, procedures, and rights set forth and

      incorporated therein, Plaintiff, requests relief as set forth below.

                            SECOND CAUSE OF ACTION
                              DECLARATORY RELIEF
72.   Plaintiff, on behalf of herself and the Class Members, repeats and realleges every

      allegation of the preceding paragraphs as if fully set forth herein.

73.   An actual controversy has arisen and now exists between the parties in that Plaintiff

      contends, and is informed and believes that Defendant denies, that its website

      contains access barriers denying blind customers the full and equal access to the

      products, services and facilities of its website, which Defendant owns, operates and

      controls, fails to comply with applicable laws including, but not limited to, Title III

      of the Americans with Disabilities Act, 42 U.S.C. §§ 12182, et seq.

74.   A judicial declaration is necessary and appropriate at this time in order that each of

      the parties may know their respective rights and duties and act accordingly.

                                PRAYER FOR RELIEF
      WHEREFORE, Plaintiff respectfully requests this Court grant the following relief:

             a.      A preliminary and permanent injunction to prohibit Defendant from

             violating the Americans with Disabilities Act, 42 U.S.C. §§ 12182, et seq.,

             and the laws of Illinois;

             b.      A preliminary and permanent injunction requiring Defendant to take




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                all the steps necessary to make its website fully compliant with the

                requirements set forth in the ADA, and its implementing regulations, so that

                the Website is readily accessible to and usable by blind individuals;

                c.      A declaration that Defendant owns, maintains and/or operates its

                Website in a manner that discriminates against the blind and which fails to

                provide access for persons with disabilities as required by Americans with

                Disabilities Act, 42 U.S.C. §§ 12182, and the laws of Illinois.

                d.      An order certifying the Class under Fed. R. Civ. P.

                23(a) & (b)(2) and/or (b)(3), appointing Plaintiff as Class Representative,

                and her attorneys as Class Counsel;

                e.      Payment of nominal damages;

                f.      Pre- and post-judgment interest;

                g.      An award of costs and expenses of this action together with

                reasonable attorneys’ and expert fees; and

                h.      Such other and further relief as this Court deems just and proper.



                             DEMAND FOR TRIAL BY JURY
         Pursuant to Fed. R. Civ. P. 38(b), Plaintiff demands a trial by jury on all questions

of fact the Complaint raises.

Dated:      Hackensack, New Jersey
            April 9, 2024

                                               STEIN SAKS, PLLC

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